                                                                                                   
                                                                                                                   Case 2:23-cv-11634-NGE-APP  ECF No. 19-3, PageID.273 Filed 09/25/23 Page 1 of 4




                                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                                                                        EASTERN DISTRICT OF MICHIGAN
                                                                                                                                             SOUTHERN DIVISION

                                                                                                                   JULIA ZIMMERMAN,

                                                                                                                          Plaintiff,                         Case No. 2:23-cv-11634-NGE-APP
       The Health Law Partners, P.C. - 29566 Northwestern Hwy., Ste. 200 - Southfield, MI 48034 - (248) 996-8510




                                                                                                                   vs.                                       Judge: Hon. Nancy G. Edmunds
                                                                                                                                                             Magistrate Judge:
                                                                                                                   ELIZABETH A. PENSLER, D.O., PLLC          Hon. Anthony P. Patti
                                                                                                                   (d/b/a “Pensler Vein and Vascular”,
                                                                                                                   “Pensler Vein and Vascular Surgical
                                                                                                                   Institute”, and “Elizabeth Face +
                                                                                                                   Body Med Spa”) et al.

                                                                                                                          Defendants.
                                                                                                                   ______________________________________________________/
                                                                                                                   DEBORAH GORDON LAW                     THE HEALTH LAW
                                                                                                                   Deborah L. Gordon (P27058)             PARTNERS, P.C.
                                                                                                                   Elizabeth Marzotto Taylor (P82061)     Clinton Mikel (P73496)
                                                                                                                   Sarah Gordon Thomas (P83935)           Attorneys for the Defendants
                                                                                                                   Molly Savage (P84472)                  Elizabeth A. Pensler, D.O., PLLC
                                                                                                                   Attorneys for the Plaintiff            (d/b/a “Pensler Vein and Vascular
                                                                                                                   Julia Zimmerman                        “Pensler Vein and Vascular Surgical
                                                                                                                   33 Bloomfield Hills Parkway, Suite 220  Institute”, and “Elizabeth Face +
                                                                                                                   Bloomfield Hills, Michigan 48304       Body Med Spa”); Elizabeth Med
                                                                                                                   Tel: (248) 258-2500                    Spa, PLLC Derek L. Hill, D.O.,
                                                                                                                   dgordon@deborahgordonlaw.com           PLLC; (d/b/a “Hill Orthopedics”),
                                                                                                                   emarzottotaylor@deborahgordonlaw.com Elizabeth Pensler, D.O. and
                                                                                                                   sthomas@deborahgordonlaw.com           Derek Hill, D.O.
                                                                                                                   msavage@deborahgordonlaw.com           3200 Northwestern, #240
                                                                                                                                                          Farmington Hill, MI 48334
                                                                                                                                                          Tel: (248) 996-8510
                                                                                                                                                          cmikel@thehlp.com
                                                                                                                   ______________________________________________________/


                                                                                                                                       DECLARATION OF DEREK HILL, D.O.
                                                                                                   
                                                                                                                   Case 2:23-cv-11634-NGE-APP  ECF No. 19-3, PageID.274 Filed 09/25/23 Page 2 of 4




                                                                                                                         I, Derek Hill D.O., do hereby declare the following to be true and correct to

                                                                                                                   the best of my knowledge, information, and belief.

                                                                                                                         1.     I am a resident of Michigan. I am over the age of eighteen and I am

                                                                                                                   competent to provide this Declaration.
       The Health Law Partners, P.C. - 29566 Northwestern Hwy., Ste. 200 - Southfield, MI 48034 - (248) 996-8510




                                                                                                                         2.     I am licensed to practice Medicine in Michigan.

                                                                                                                         3.     I am a named Defendant in the above captioned action.

                                                                                                                         4.     I am the owner of Derek L. Hill, D.O., PLLC (d/b/a “Hill

                                                                                                                   Orthopedics”) (“Hill Orthopedics”) and I have been the sole owner of the

                                                                                                                   PLLC/company and its practice since its inception.

                                                                                                                         5.     Hill Orthopedics is a named Defendant in the above captioned action.

                                                                                                                         6.     In my capacity as the sole owner of Hill Orthopedics, I have personal

                                                                                                                   knowledge the PLLC’s business records, email servers6 emails, and email

                                                                                                                   chains that are used, sent, and/or received in the normal course of business of

                                                                                                                   Hill Orthopedics.

                                                                                                                         7.     I also have personal knowledge of any business records, emails, email

                                                                                                                   chains, and email servers that are used, sent, and/or received by me at the email

                                                                                                                   address: dhill@drhill.com.

                                                                                                                         8.     Attached to this declaration is the following Exhibit, of which I have

                                                                                                                   personal knowledge. The exhibit is an email chain sent by Julia Zimmerman on

                                                                                                                                                            2
                                                                                                   
                                                                                                                   Case 2:23-cv-11634-NGE-APP  ECF No. 19-3, PageID.275 Filed 09/25/23 Page 3 of 4




                                                                                                                   May 8, 2023 (which incorporates an April 13, 2023, email), to my business email

                                                                                                                   address, dhill@drhill.com, with copies to Elizabeth Pensler, D.O. at

                                                                                                                   epensler@yahoo.com, and three employees of Hill Orthopedics (i.e.,

                                                                                                                   pavlina@drhill.com; Simrath@drhill.com and marissa@drhill.com). This email
       The Health Law Partners, P.C. - 29566 Northwestern Hwy., Ste. 200 - Southfield, MI 48034 - (248) 996-8510




                                                                                                                   chain was: (a) sent in the normal course of business of Hill Orthopedics to my

                                                                                                                   business email address; (b) it is the normal course of business/regular practice of

                                                                                                                   Hill Orthopedics and myself as owner of the business (i.e., dhill@drhill.com) to

                                                                                                                   communicate by email and to retain and not delete emails; (c) the email chain was

                                                                                                                   made/sent/transmitted at/around the times indicated thereon (below) and

                                                                                                                   received by me (a person with personal knowledge) at the email dhill@drhill.com,

                                                                                                                   at/around the times indicated thereon. I further attest that the email chain

                                                                                                                   identified below and attached as EXHIBIT A, is a true and accurate copy of the

                                                                                                                   following email chain:

                                                                                                                         EXHIBIT A - email chain from Julia Zimmerman to Dr. Hill, et. al, sent on
                                                                                                                         Monday, May 8, 2023, 9:07 AM. This email chain references an email from
                                                                                                                         Julia Zimmerman to Dr. Hill, et. al, Thursday, April 13, 2023, 11:48 a.m., and
                                                                                                                         contains a supplemental email from Ms. Zimmerman to Dr. Hill, et al. on
                                                                                                                         May 8, 2023, at 11:34 a.m.

                                                                                                                         9.     In my capacity as owner of Hill Orthopedics and custodian of my own

                                                                                                                   business email dhill@drhill.com, that is used for Hill Orthopedics, I conducted a

                                                                                                                   thorough search, including a final search on September 22, 2023, of all of the Hill


                                                                                                                                                             3
                                                                                                   
                                                                                                                   Case 2:23-cv-11634-NGE-APP  ECF No. 19-3, PageID.276 Filed 09/25/23 Page 4 of 4




                                                                                                                   Orthopedic servers (including my email address) and emails that would or could

                                                                                                                   have been sent by Julia Zimmerman on May 8, 2023, to Hill Orthopedics, its staff,

                                                                                                                   or myself and I attest that to the best of my knowledge and based upon my search

                                                                                                                   that EXHIBIT A is only email chain (and/or email) that was/could have been sent
       The Health Law Partners, P.C. - 29566 Northwestern Hwy., Ste. 200 - Southfield, MI 48034 - (248) 996-8510




                                                                                                                   by Julia Zimmerman on May 8, 2023, and/or received by Hill Orthopedics, its staff,

                                                                                                                   or my business email from Julia Zimmerman, that is in any way related to the

                                                                                                                   subject matter of the Complaint.

                                                                                                                         10.    I attest that the facts provided in this Declaration are true, correct, and

                                                                                                                   accurate to the best of my knowledge, and if called into court I would testify as to

                                                                                                                   the same.

                                                                                                                         In accordance with 28 U.S.C. Section 1746, I declare under penalty of

                                                                                                                   perjury that the forgoing is true and correct.


                                                                                                                                                                        Date: September 25, 2023

                                                                                                                   _______________________________
                                                                                                                   Name: Derek Hill, D.O.




                                                                                                                                                              4
